Case 2:18-cv-00053-JRG Document 217 Filed 12/11/19 Page 1 of 2 PageID #: 9630



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

IMPLICIT, LLC,                                 §
                                               §
              Plaintiff,                       §
                                               §
v.                                             §
                                               §
NETSCOUT SYSTEMS, INC.,                        §   CIVIL ACTION NO. 2:18-CV-00053-JRG
                                               §
                                               §
              Defendant.                       §

                 MINUTES FOR JURY TRIAL DAY THREE
          HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               December 11, 2019

OPEN: 8:31 a.m.                                                       ADJOURN: 5:54 p.m.

 ATTORNEYS FOR PLAINTIFF:                    See attached.

 ATTORNEYS FOR DEFENDANTS:                   See attached.

 LAW CLERKS:                                 Taylor Fitzner
                                             Christian Chessman

 COURT REPORTER:                             Shelly Holmes, CSR-TCRR

 COURTROOM DEPUTY:                           Jan Lockhart


 TIME         MINUTES
 8:31 a.m.    Court opened. Exhibits used prior day read into the record.
 8:34 a.m.    Jury returned to the courtroom. Direct examination of Paul Barrett by Mr. Buresh.
 9:36 a.m.    Bench conference.
 9:38 a.m.    Direct examination of Paul Barrett by Mr. Buresh.
 9:46 a.m.    Bench conference.
 9:47 a.m.    Jury excused for recess. Hearing outside the presence of the Jury.
 9:49 a.m.    Court recess.
 10:11 a.m.   Court reconvened. Jury returned to the courtroom. Cross examination of Paul Barrett
              by Mr. Hosie.
 10:14 a.m.   Bench conference.
 10:15 a.m.   Courtroom sealed. Cross examination of Paul Barrett by Mr. Hosie.
 10:45 a.m.   Bench conference.
Case 2:18-cv-00053-JRG Document 217 Filed 12/11/19 Page 2 of 2 PageID #: 9631



 TIME         MINUTES
 10:47 a.m.   Cross examination of Paul Barrett by Mr. Hosie.
 10:54 a.m.   Courtroom unsealed. Redirect examination of Paul Barrett by Mr. Buresh.
 10:56 a.m.   Recross examination of Paul Barrett by Mr. Hosie.
 10:57 a.m.   Parties passed the witness. Bench conference.
 10:58 a.m.   Direct examination of John Curtin by Mr. Buresh.
 11:37 a.m.   Bench conference.
 11:40 a.m.   Lunch recess for Jury. Hearing outside the presence of the Jury.
 11:42 a.m.   Lunch recess.
 12:40 p.m.   Court reconvened. Direct examination of John Curtin by Mr. Buresh.
 12:59 p.m.   Cross examination of John Curtin by Mr. Hurt.
 1:11 p.m.    Bench conference.
 1:12 p.m.    Cross examination of John Curtin by Mr. Hurt.
 1:30 p.m.    The parties passed the witness.
 1:32 p.m.    Direct examination of Scott Dawson, Ph.D. by Mr. Buresh.
 1:47 p.m.    Bench conference.
 1:50 p.m.    Direct examination of Scott Dawson Ph.D. by Mr. Buresh.
 2:01 p.m.    Recess.
 2:16 p.m.    Jury returned to the courtroom.
 2:17 p.m.    Direct examination of Scott Dawson, Ph.D. by Mr. Buresh.
 2:24 p.m.    Courtroom sealed. Direct examination of Scott Dawson, Ph.D. by Mr. Buresh.
 2:33 p.m.    Courtroom unsealed. Direct examination of Scott Dawson, Ph.D. by Mr. Buresh.
 2:44 p.m.    Cross examination of Scott Dawson, Ph.D. by Mr. Davis.
 2:45 p.m.    Courtroom sealed. Cross examination of Scott Dawson, Ph.D. by Mr. Davis.
 2:58 p.m.    Bench conference.
 2:59 p.m.    Cross examination of Scott Dawson, Ph.D. by Mr. Davis.
 3:04 p.m.    Parties passed the witness. Courtroom unsealed. Direct examination of Kevin Jeffay,
              Ph.D. by Mr. Buresh.
 3:19 p.m.    Bench conference.
 3:20 p.m.    Direct examination of Kevin Jeffay, Ph.D. by Mr. Buresh.
 3:22 p.m.    Bench conference.
 3:23 p.m.    Direct examination of Kevin Jeffay, Ph.D. by Mr. Buresh.
 4:02 p.m.    Recess.
 4:17 p.m.    Court reconvened. Jury returned to the courtroom.
              Direct examination of Kevin Jeffay, Ph.D. by Mr. Buresh.
 5:26 p.m.    Bench conference.
 5:27 p.m.    Cross examination of Kevin Jeffay, Ph.D. by Mr. Hosie.
 5:31 p.m.    Courtroom sealed.
 5:32 p.m.    Courtroom unsealed.
 5:37 p.m.    Courtroom sealed.
 5:48 p.m.    Courtroom unsealed.
 5:51 p.m.    Bench conference.
 5:52 p.m.    Jurors excused for recess.
 5:53 p.m.    Hearing outside the presence of the Jury.
 5:54 p.m.    Court adjourned.


                                             2
